                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


EIGHT MILE STYLE, LLC; MARTIN
AFFILIATED, LLC,
                                                         Civil Case No. 19-CV-00736
                Plaintiffs,
                                                         Hon. Aleta A. Trauger
v.

SPOTIFY USA INC.,

                Defendant.


 SPOTIFY USA INC.’S MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

         Pursuant to Section 5.07 of the Amended Practices and Procedures for Electronic Case

Filing (Administrative Order 167-1), Spotify USA Inc. (“Spotify”) respectfully moves for leave to

file under seal select portions of its Third-Party Complaint. Spotify’s counsel conferred with

Plaintiffs’ counsel on May 29, 2020, and Plaintiffs do not oppose this request.

         To “justify nondisclosure to the public,” “[t]he proponent of sealing must provide

compelling reasons to seal the documents and demonstrate that the sealing is narrowly tailored to

those reasons—specifically, by ‘analyz[ing] in detail, document by document, the propriety of

secrecy, providing reasons and legal citations.’” Beauchamp v. Federal Home Loan Mortgage

Co., 658 F. App’x 202, 207 (6th Cir. 2016) (quoting Shane Grp, Inc. v. Blue Cross Blue Shield of

Michigan, 825 F.3d 299, 305-306 (6th Cir. 2016)). Consistent with these requirements, Spotify

redacted select portions of the Third-Party Complaint that concern confidential agreements (the

“Agreements”) between Spotify and Kobalt Music Publishing America, Inc. (“Kobalt”), as well

as confidential information exchanged pursuant to those Agreements.




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        Each of the Agreements prohibits public statements relating to its terms, and requires that

information exchanged pursuant to the agreement be kept confidential. Accordingly, Spotify filed

a partially redacted version of the Third-Party Complaint to avoid public disclosure of information

not previously disclosed that could both violate the Agreements and implicate Spotify’s and/or

Kobalt’s privacy interests. See Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165,

1179 (6th Cir. 1983) (recognizing the need to protect the “privacy rights” of third parties as a

justification for filing information under seal); Cotter v. Cent. Mich. Cmty. Hosp., 2010 WL

1136496, at *1 (E.D. Mich. Mar. 24, 2010) (granting motion to seal agreements that expressly

prohibited public disclosure of their contents in order to protect the privacy interests of non-

parties).

        For similar reasons, this Court previously granted Spotify’s motion for leave to file under

seal select portions of materials submitted in connection with Spotify’s Motion to Dismiss for Lack

of Personal Jurisdiction and Improper Venue, or, in the Alternative, to Transfer Venue to the

Southern District of New York. See ECF No. 53.

        WHEREFORE, Spotify respectfully requests that the Court grant Spotify leave to file

unredacted versions of the Third-Party Complaint under seal.




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Dated: May 29, 2020                       Respectfully Submitted,

                                           By: /s/ Aubrey B. Harwell III

Kathleen M. Sullivan*                      Aubrey B. Harwell III (BPR #017394)
Carey R. Ramos*                            Marie T. Scott (BPR # 032771)
Cory Struble*                              NEAL & HARWELL, PLC
QUINN EMANUEL URQUHART &                   1201 Demonbreun Street, Suite 1000
SULLIVAN, LLP                              Nashville, TN 37203
51 Madison Avenue, 22nd Floor              Telephone: (615) 238-3526
New York, NY 10010                         tharwell@nealharwell.com
Telephone: (212) 895-2500
kathleensullivan@quinnemanuel.com          Allison Levine Stillman*
careyramos@quinnemanuel.com                Matthew D. Ingber*
                                           Rory K. Schneider*
Thomas C. Rubin*                           MAYER BROWN LLP
QUINN EMANUEL URQUHART &                   1221 Avenue of the Americas
SULLIVAN, LLP                              New York, NY 10020
600 University Street, Suite 2800          Telephone: (212) 506-2500
Seattle, WA 98101                          mingber@mayerbrown.com
Telephone: (206) 905-7000                  astillman@mayerbrown.com
tomrubin@quinnemanuel.com                  rschneider@mayerbrown.com

                                           Andrew J. Pincus*
                                           Archis A. Parasharami*
                                           MAYER BROWN LLP
                                           1999 K Street, N.W.
                                           Washington, D.C. 20006
                                           Telephone: (202) 263-3328
                                           apincus@mayerbrown.com
                                           aparasharami@mayerbrown.com


                            Counsel for Spotify USA Inc.
                              *admitted pro hac vice




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on May 29, 2020 with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all parties

and counsel of record by operation of the Court’s CM/ECF system. All other parties will be served

by regular U.S. Mail. Parties may access this filing through the Court’s electronic filing system.



 James F. Blumstein                                Richard S. Busch
 Of Counsel                                        King & Ballow
 Vanderbilt University                             315 Union Street
 131 21st Avenue South                             Suite 1100
 Nashville, TN 37203                               Nashville, TN 37201
 (615) 343-393                                     (615) 259-3456
 james.blumstein@vanderbilt.edu                    rbusch@kingballow.com

 Mark H. Wildasin
 U.S. Attorney’s Office (Nashville Office)
 Middle District of Tennessee
 110 Ninth Avenue
 Suite A961
 Nashville, TN 37203
 (615) 736-2079
 mark.wildasin@usdoj.gov


                                                     /s/ Aubrey B. Harwell III




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